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The Honorable Leo T. Sorokin July 16, 2018
United States District Court

John Joseph Moakley Courthouse

1 Courthouse Way

Boston, MA 02210

Re: Ross McLellan

Dear Sir,

We are writing on behalf of Ross McLellan. My husband and | are his mother-in-law and
father-in-law. We adore him! We could not love him more if he was our biological son. As
educators we always taught our daughter to make good decisions, and as we got to know
Ross we soon discovered that she made an excellent one.

We often lived with Lisa and Ross for extended periods of time because our home is in New
Jersey and when we visit or when they come to us it is for an extended period of time. We
took care of their four beautiful children with each birth. We have a very close relationship
and we have seen what a loving and caring, father, husband, brother, and friend he

is. Unfortunately, in the last three years my husband was partially paralyzed after spinal
surgery due to cancer, and we can’t get to Massachusetts as often as we were once able to,
and it is killing us. Ross has been wonderful throughout our ordeal, coming to us as often
as he can and always offering to help. Ross is a true blessing to us!

Ross coaches his boys various teams and never misses games or a dance recital. He gets up
early and makes breakfast for them and even their school lunches. He then always drives
them to the bus stop. Our daughter would not be able to work full time and care for their
four children (one of whom has special needs) without his partnership. He is honest toa
fault, helps others always, and is one of the kindest people we know.

He has handled this difficult& situation with grace and dignity. Ross is genuinely a
wonderful human being.

Sincerely,

Theresa and Vincent Ziccardi
